Case 2:07-cv-00339-BSJ Document 183 Filed 11/09/07 PageID.2280 Page 1 of 3




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Attorneys for Plaintiff Neways, Inc.


                      IN THE UNITED STATES DISTRICT COURT

                       DISTRICT OF UTAH, CENTRAL DIVISION


NEWAYS INC., a Utah corporation,
                                          NEWAYS’ AMENDED MOTION FOR
              Plaintiff,                  PRELIMINARY INJUNCTION
v.
THOMAS ELWIN MOWER, SR., et al,           (Pre-Trial Conference Scheduled
                                          December 19, 2007)
                  Defendants.

____________________________________      Consolidated Case No. 2:07-CV-339

                                          Judge Bruce S. Jenkins
NEWAYS INC., a Utah corporation,
              Plaintiff,
v.
MAYURI YAMASHITA, et al,
                  Defendants.
 Case 2:07-cv-00339-BSJ Document 183 Filed 11/09/07 PageID.2281 Page 2 of 3




        Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff Neways, Inc.

(“Neways”) hereby moves the Court for the entry of a preliminary injunction against Defendants

Koji Yamamoto, Toru Egashira, Fumiko Matsumoto, Yugengaisha Yuuai Corporation, Mayuri

Yamashita, Kaoru Kitagawa, and Chiharu Hayashi (collectively the “Japanese Defendants”), and

against Sisel International, LLC (“Sisel”). This Motion amends the Motion for Temporary

Restraining Order and Preliminary Injunction Against Japanese Distributor Defendants filed by

Neways on May 23, 2007.

        For the reasons set forth in Neways’ supporting memorandum filed May 23, 2007, and

further supported by the other documents, pleadings, and supplementations of the record on file

herein, Neways respectfully requests that the Court grant Neways’ Motion and enter a

Preliminary Injunction against the Japanese Defendants and Sisel. A proposed form of Order

will be submitted in connection with the proposed Pre-Trial Order regarding this Motion.

        RESPECTFULLY SUBMITTED this 9th day of November 2007.


                                             /s/ David C. Reymann
                                             Jeffrey J. Hunt
                                             D. Craig Parry
                                             David C. Reymann
                                             Matthew J. Ball
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                                                    and
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 Case 2:07-cv-00339-BSJ Document 183 Filed 11/09/07 PageID.2282 Page 3 of 3




                                CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on the 9th day of November 2007, I filed the foregoing

   NEWAYS’ AMENDED MOTION FOR PRELIMINARY INJUNCTION via the

   CM/ECF system, which will electronically serve the following:


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                                                   /s/ David C. Reymann




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